_ Case: 09-1664 Document: 00115896390 Page: 1 Date Filed: 05/18/2009 ~— Entry ID: 53843725

UNITED STATES COURT OF APPEALS
FOR THE FIRST CIRCUIT

Pedro Lopez, et al.,

Plaintiffs-Appellees,

Civil Action N6
09-1664 c

Vv.

City of Lawrence, et al.,

Defendants-Appellants.

Nee ee ee

PLANTIFFS-APPELLEES’ MOTION TO DISMISS APPEAL
Zi. INTRODUCTION

Having been unsuccessful on several dispositive motions
which it filed, and with trial scheduled in June of 2009, the
Commonwealth has purported to file an interlocutory appeal with
this Court based upon 11° Amendment immunity and has argued
below that this filing deprives the District Court of
jurisdiction to proceed further.

As described herein, the Commonwealth’s appeal is frivolous
for two critical reasons: 1) plaintiffs seek significant
injunctive relief correcting and remedying the Commonwealth’s
administration of discriminatory examinations, and thus 11°
Amendment immunity is simply inapplicable to claims for
injunctive relief, and, 2) the law is clear beyond doubt that

Congress has waived 11°? Amendment immunity for states who are
_ Case: 09-1664 Document: 00115896390 Page:2 Date Filed:05/18/2009 ~— Entry ID: 53843725

subject to actions brought under Title VII of the Civil Rights

Act.

_«. Because the Supreme Court has made clear that an
interlocutory appeal of the denial of 11°? Amendment immunity is
not permitted where the complaint seeks “injunctive” relief, and
because the District Court was required to make a preliminary

analysis as to whether or not the interlocutory appeal was

“patently meritless”! this Court should dismiss the appeal.’

TI. WHERE AN ACTION SEEKS INJUNCTIVE RELIEF, THE 11°" AMENDMENT
DOES NOT CONFER A GRANT OF IMMUNITY ON THE STATE

In this lawsuit, the Plaintiffs primarily seek injunctive
relief remedying and correcting the effects of the
discriminatory promotional exams created and administered by HRD
over the last several years. (See Plaintiff's Sixth Amended
Complaint at pp. 13-14, attached as Exhibit A) If the Plaintiffs
are successful, they will seek several forms of injunctive
relief similar, but not identical, to the injunctive relief

granted by Judge Saris in Bradley v. City of Lynn 443 F. Sup. gre

145 (D. Mass. 2006) (Final injunctive order as attached hereto

as Exhibit B. See also Massachusetts Association of African-

American Police Officers v. City of Boston 973 F.2" 18, 19 - 21

1 See Rivera-Torres v. Ortiz Valez 341 F.3%° 86, 95 (2003)

2 Plaintiffs filed in the District Court an opposition to Defendants motion
for a stay pending interlocutory appeal. The District Court however granted
the stay on May 13, 2009 without comment or legal analysis.

Case: 09-1664 Document: 00115896390 Page:3 Date Filed: 05/18/2009 — Entry ID: 5343725

(1% Cir. 1992).) While Plaintiffs will also seek back pay and
benefits as ancillary relief to the injunctive remedy, monetary
damages are not the primary focus of the case. °> Since the.
Commonwealth has been defending discriminatory entry level and
promotional police and fire exams for over 30 years and has
itself has agreed to several consent decrees, it is obviously

aware that injunctive relief would be a primary component of the

remedies sought by Plaintiffs. Castro v. Beecher 679 F. ant 956

(18* Cir. 1982), Massachusetts Association of African-Americans

v. City of Boston, supra, Bradley v. City of Lynn, supra.

The United States Supreme Court has made clear that even
where Congress has not abrogated a state's 11° Amendment
immunity from a federal discrimination statute, such immunity
does not bar an action to “enjoin state officials to conform
their..conduct to the requirements of federal law.” See Garrett

v. University of Alabama 531 U.S. 352, 368 (2001), Kimel v.

Florida Board of Regents 508 U.S. 62, 80 (2000), Mullins v.

Department of Labor, 2009 WL 1059208 (D. Puerto Rico 2009). (In

light of Supreme Court precedent, actions seeking money damages
under the ADA and ADEA will not be dismissed to the extent that
the action seeks equitable relief). Furthermore, the law is

clear that actions seeking instatement or reinstatement are

3 tndeed, in their initial Motion to Dismiss, the Commonwealth correctly
pointed out that the 11°" Amendment bars state law claims for damages against
the State in Federal Court. Plaintiffs agreed with this legal analysis, and
refiled their state law Ch. 151B claims in state court.
_ Case: 09-1664 Document: 00115896390 Page:4 Date Filed: 05/18/2009 — Entry ID: 5343725

considered claims for equitable relief, which are not barred by

11°? Amendment immunity. Thus in Garrett v. University of

Alabama, the.gourt stated;

Our holding here that Congress did not
validly abrogate the states’ sovereign
immunity from suit by private individuals
for money damages under Title I does not
mean that persons with disabilities have no
federal recourse against discrimination.

Those standards can be enforced by the
United States in actions for money damages,
as well as by private individuals in actions

for injunctive relief.

Id at section 9. See also Neal v. East Tennessee State

University, 2008 WL 4065933 (E.D. Tenn. 2008)

Ironically, the very cases which the Commonwealth relied on
in its Motion for Stay Pending Appeal, which was granted by the
District Court, support the Plaintiffs’ position here that an
interlocutory appeal is not permitted when injunctive relief
constitutes part of Plaintiffs’ claims (See Exhibit C attached
hereto). For example the Commonwealth relied in that motion on

Hegarty v. Somerset County 25 F.37¢, 17, 18 (1st Cir. 1994) for

the proposition that where the court denies qualified immunity,
there is an automatic right to an interlocutory appeal. Yet
Hegerty was an action solely for monetary damages and this Court
properly pointed out that:

We also point out that the underlying case

is one for monetary damages only and does

not request injunctive relief, as to which a
defense of qualified immunity is immaterial.
Case: 09-1664 Document: 00115896390 Page:5 Date Filed: 05/18/2009 — Entry ID: 5343725

c£. Lugo v. Alvarado 8 19 F. 2™ 5 (1st Cir.
1987) (concluding that equitable claims stand
on a different footing than damage claims...) .

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Id. at 18. In short, the Defendants’ interlocutory appeal must -
be dismissed because it is patently meritless. As the
Commonwealth itself states in its Motion for Stay Pending
Appeal, the granting of a stay pending appeal is necessary where
the claim is for damages only because “whether Plaintiffs’
claims should proceed to trial is precisely the aspect of the
case over which this Court now lacks jurisdiction” (Id. at pp 1-
2). Yet, where a significant part of the case is for injunctive
relief as is here, even if there were 11°® Amendment immunity
(which there is not as discussed below) over Plaintiffs’ claims
for back pay and benefits under Title VII, there is still going
to be a trial in District Court on whether or not the
examinations at issue here are discriminatory, and whether the
Commonwealth must remedy those unlawful acts. Thus, it is not a
question of “jurisdiction” at all, but simply a question about
whether Plaintiffs will be limited to injunctive relief or can
proceed with their back pay claims. Therefore the very purpose
for permitting an interlocutory appeal from the denial of
sovereign immunity simply does not exist. This point alone
requires the appeal to be dismissed. Since trial will occur

anyway, the question of whether or not damages may be awarded by
Case: 09-1664 Document: 00115896390 Page:6 Date Filed: 05/18/2009 _—_ Entry ID: 5343725

the Court on remedy (in the form of back pay and benefits) is an
issue which can be appealed by the Commonwealth in due course,
especially in this case,where the court has bifurcated the trial

on liability from any trial on damages. (See Docket #87,

attached hereto as Exhibit D, District Court’s order of June 9,

2008).

IIL. BECAUSE THE LAW IS CLEAR THAT THE COMMONWEALTH IS SUBJECT
TO LIABILITY UNDER TITLE VII AND BECAUSE THE ISSUE RAISED
BY THE COMMONWEALTH IS NOT ONE THAT CAN BE DECIDED AS A
MATTER OF LAW, THE REQUEST FOR STAY PENDING INTERLOCUTORY

APPEAL MUST BE DENIED*

In its motion for summary judgment in the court below, the
Commonwealth argued that even if it were held to be an employer
for Title VII purposes under the facts of this case, there was
no clear intent by Congress to waive the state’s immunity for
this type of case where the state is designing and administering
a promotional exam that is discriminatory. With all due respect
this argument lacks any merit. First, it is simply beyond
dispute that acting pursuant to Section 5 of the 14°" Amendment,
Congress specifically intended to waive a state's sovereign
immunity when it is sued for race discrimination under Title VII

of the Civil Rights Act of 1964. See In Re: Employment

4 Plaintiffs wish to make clear that they are not attempting to argue the
“merits” of the Commonwealth’s interlocutory appeal in this motion. Rather
they simply wish to demonstrate that the appeal is so “patently meritless”
that the Defendants should not be allowed to avoid trial by filing such a
frivolous interlocutory appeal. River-Torres, supra. at 96-97.

Case: 09-1664 Document: 00115896390 Page:7 Date Filed: 05/18/2009 —_ Entry ID: 5343725

Discrimination Against the State of Alabama 198 F.3™° 1305 (11

Cir. 1999). (Noting that in Fitzpatrick v. Bitzer 427 US 445,

449° (1976), the Supreme Court specifically noted that Congress
had expressly waived a state’s 11°° Amendment immunity for
violations of the race discrimination provisions of Title VII).
While this should be dispositive of the Commonwealth’s
interlocutory appeal, it appears to make a more refined argument
that given the type of case at issue here - the Commonwealth
creating and administering promotional exams which have a
disparate impact - Congress did not expressly waive the
sovereign immunity of the states. The short answer to this
question is that the 11°® Circuit specifically held in In Re:

Employment Discrimination Litigation against the State of

Alabama supra that disparate impact ~- promotional and entry
level examination claims can be brought against a state under
Title VII and that the abrogation of 11°? Amendment immunity is
no different for the state in such'instances then are claims for
intentional discrimination. Id at 1317-1320. Indeed, the
Commonwealth cited no case in its Motion for Stay, and
Plaintiffs can locate no case, which stands for the proposition
that for some race discrimination cases under Title VII,
Congress did not abrogate a state’s sovereign immunity.

In addition, as Plaintiffs pointed out in their Opposition

to the Commonwealth’s Motion for Summary Judgment, the question
Case: 09-1664 Document: 00115896390 Page:8 Date Filed: 05/18/2009 = Entry ID: 5343725

of who is an employer for Title VII purposes is at best a mixed
question of fact and law, and the Plaintiffs presented
overwhelming and persuasive evidence as to why under the facts
of this case the Commonwealth was an employer for Title VII
purposes and should be treated as such. They relied in

significant part upon the detailed findings made by Judge Saris

in Bradley v. City of Lynn 403 F. Supp. 2d 161 (D. Mass. 2005).

This Circuit has made clear that where the question of
whether immunity applies requires factual findings and those
findings are disputed, it is not appropriate to stay litigation
and trial of a case pending appeal to the First Circuit. This

issue was extensively analyzed in Rivera - Torres v. Ortiz Valez

341 F.377 86 (1st Cir. 2003). There the First Circuit, relying on

the Supreme Court decisions of Griggs v. Provident Consumer

Discount Company 459 U.S. 56, 58 (1982), and Mitchell v. Forsyth

472 U.S. 511 (1985), delineated three exceptions to the
automatic divestiture of jurisdiction when an interlocutory
immunity appeal is filed. First, the Court made clear the claim
of immunity must “turn on an issue of law”. Thus, where the
question of immunity may turn on an “unresolved issue of

material fact” it is not immediately appealable. Rivera - Torres

supra at 95. See also Stella v. Kelley 63 F.37¢ 71, 74 (ist Cir.

1995) (“a District Court’s..rejection of a qualified immunity

defense is not immediately appealable to the extent that it
Case: 09-1664 Document: 00115896390 Page:9 Date Filed: 05/18/2009 = Entry ID: 5343725

turns on either an issue of fact or an issue perceived by the
trial court to be an issue of fact”).

Second, filing of such interlocutory appeal confers
jurisdiction on the Court of Appeals and divests the District
Court of control only “over those aspects of the case involved
in the appeal”. Id at 96. As demonstrated above, at best, since
the only possible immunity which could even be asserted by the
Commonwealth is immunity from damages, the injunctive aspects of
this case must proceed unabated. Third, where the District Court
Finds that the filing of the interlocutory appeal is “patently
meritless” it may hold that it is not deprived of jurisdiction

in the first instance. See Rivera _- Torres v. Ortiz Valez at p.

95-96, see also United States v. Brooks 145 F.37¢ 446, 456 (1st

Cir. 1998).

In the present case, the Plaintiffs can easily demonstrate
that all three exceptions apply. First, as demonstrated above,
the Commonwealth’s interlocutory appeal is patently meritless
because 1) Plaintiffs seek injunctive relief and there is no 11™
Amendment immunity for the Plaintiff's claims for injunctive
relief and 2) Congress has clearly waived the state’s sovereign
immunity for 11° Amendment purposes when it enacted Title VII
and made states subject to Title VII in its 1972 Amendments.
Independently, either of these arguments would be sufficient for

the Court to deny a Stay of the Commonwealth’s interlocutory
Case: 09-1664 Document: 00115896390 Page:10 Date Filed: 05/18/2009 — Entry ID: 5343725

appeal, but taken together, they destroy any claim by the
Commonwealth that its interlocutory appeal has merit.
Moreover, even if the Commonwealth could get by the

”

“patently meritless” problem, it still cannot escape the fact

that the question of the Commonwealth’s 11°? Amendment immunity

extensive command and control which the Commonwealth has over
the civil service system in the Commonwealth of Massachusetts,
and specifically the control which it exerts over entry level
hirings and promotions of police officers and firefighters in
the Commonwealth of Massachusetts. Since the Commonwealth
argued in its Summary Judgment brief that it had no such

extensive control and Plaintiffs, relying on Bradley v. City of

Lynn, argued to the contrary, it is difficult to see how this
questions turns on a purely legal question and therefore under
Rivera-Torres, an interlocutory appeal is not appropriate.

VI. Conclusion

The Court should dismiss this interlocutory appeal as

“patently meritless.”

10
Case: 09-1664 Document: 00115896390

Page: 11

Date Filed: 05/18/2009 ‘Entry ID: 5343725

Respectfully submitted,

Pedro Lopez,

et al. on behalf of

himself and on behalf of a class of
° persons similarly situated,

&

By their attorney,

4

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Shannon Liss-Riordan,

(C.A.B. #22114)
(C.A.B. #77877)

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Dated: May 14, 2009 (617) 367-7200

CERTIFICATE OF SERVICE

I hereby certify that on May 14,

2009, I caused a copy of

this document to be served by first class mail on the following

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Case: 09-1664 Document: 00115896390 Page:13 Date Filed: 05/18/2009 — Entry ID: 5343725 x
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Case: 09-1664 Document: 00115896390 Page: 14 Date Filed: 05/18/2009 ~— Entry ID: 5343725

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

PEDRO LOPEZ, ABEL CANO, KEVIN SLEDGE,
CHARLES DEJESUS, RICHARD BROOKS,
MASSACHUSETTS HISPANIC LAW
ENFORCEMENT ASSOC., ROBERT ALVAREZ
MARISOL NOBREGA, SPENCER TATUM,
SHUMEAND BENFOLD, ANGELA-WILLIAMS
MITCHELL, GWENDOLYN BROWN,

LYNETTE PRAILEAU, TYRONE SMITH, EDDY
CHRISPIN, DAVID E MELVIN, STEVEN MORGAN
WILLIAM E. IRAOLO, JOSE LOZANO,
COURTNEY A. POWELL, JAMES L. BROWN,
GEORGE CARDOZA, LARRY ELLISON,

DAVID SINGLETARY, CHARISSE BRITTLE
POWELL, CATHENIA D COOPER-PATERSON,
MOLWYN SHAW, LAMONT ANDERSON,
GLORIA KINKEAD, KENNETH GAINES, MURPHY
GREGORY, JULIAN TURNER, NEVA GRICE,
DELORES E. FACEY, LISA VENUS, RODNEY O
BEST, KAREN VANDYKE, ROBERT C. YOUNG,
ROYLINE LAMB, LYNN DAVIS, JAMES A JACKSON,
JUAN ROSARIO, LOUIS ROSARIO JR,

OBED ALMEYDA, DEVON WILLIAMS, JULIO M.
TOLEDO, INDVIDUALLY AND ON BEHALF OF A
CLASS OF INDIVIDUALS SIMILARLY SITUATED,

Casé No. 07-CA-11693-JLT

Plaintiffs
V.

CITY OF LAWRENCE, MASSACHUSETTS,
JOHN MICHAEL SULLIVAN, IN HIS

CAPACITY AS MAYOR OF THE CITY OF
LAWRENCE, MASSACHUSETTS,

CITY OF METHUEN, MASSACHUSETTS,
WILLIAM MANZI, Ill, IN HIS CAPACITY AS
MAYOR OF CITY OF METHUEN,
MASSACHUSETTS, CTY OF LOWELL,
MASSACHUSETTS, APPOINTING AUTHORITY
FOR CITY OF LOWELL, CITY OF WORCESTER,
MASSACHUSETTS, MICHAEL OBRIEN IN HIS
CAPACITY AS CITY MANAGER FOR THE CITY
OF WORCESTER, CITY OF BOSTON,

rect nee Smee ame ee See Mena tae See Smut Net See ee eee inci ae” Senet mee? Smee” Sima meet Samet geet ame ee Smet eet Neer eet cmt” See Set! Set awe eget Smee Smee ee naa Net Newer! nese! at
Case: 09-1664 Document: 00115896390 Page:15 — Date Filed: 05/18/2009 — Entry ID: 5343725

MASSACHUESETTS, CITY OF SPRINGFIELD, )
MASSACHUSETTS, MAYOR DOMENIC SARNO JR )
IN HIS CAPACITY AS MAYOR FOR THE CITY OF _ )

SPRINGFIELD, COMMONWEALTH OF )
MASSACHUSETTS, PAUL DIETL, IN HIS CAPACITY)
AS PERSONNEL ADMINISTRATOR FOR THE )
COMMONWEALTH OF MASSACHUSETTS, )
HUMAN RESOURCES DIVISION, MASSACHUSETTS)
BAY TRANSPORTATION AUTHORITY, )

DANIEL GRABAUSKAS IN HIS CAPACITY AS
GENERAL MANAGER, THE BOARD OF TRUSTEES
OF THE MASSACHUSETTS BAY
TRANSPORTATION AUTHORITY,

Defendants

)
)
)
)
)
)
)

SIXTH AMENDED COMPLAINT; INJUNCTIVE AND DECLARATORY RELIEF
REQUESTED

I. INTRODUCTION.

1. This is an action by Hispanic and African-American police officers in the
Commonwealth of Massachusetts who have taken the Commonwealth's promotional
examination for the position of police sergeant in the years 2005, 2006 or 2007.
Although such plaintiffs are well qualified for a sergeant’s promotion, they have not as
of this date, received such a promotion. The named and class plaintiffs challenge the
sergeant’s promotional examination on the grounds that it has a disparate impact on
minority test takers and cannot be shown to be job-related under applicable federal
Equal Employment Opportunity Commission and Massachusetts General Laws Chapter
151B standards. The named and class plaintiffs seek appropriate injunctive and

compensatory relief as described herein.
Case: 09-1664 Document: 00115896390 Page:16 Date Filed: 05/18/2009 — Entry ID: 5343725

Il. JURISDICTION.

2. This court has jurisdiction over this case under 28 U.S.C. §§1333 and
1343, in that this case arises under the laws of the United States of America, including,
particularly, Title VII of the Civil Rights Act of 1964, 42 U.S.C. §2000(e), as amended.

In addition, the supplemental jurisdiction of this court is invoked under 28 U.S.C. §1367
for plaintiffs’ state law claims.
lll. PARTIES.

3. The plaintiff, Abel Cano, is a Hispanic resident of Methuen, Massachusetts
and is a police officer for the City of Methuen, Massachusetts.

4. The plaintiff, Pedro Lopez, is a Hispanic resident of the City of Lawrence,
Massachusetts, and is a police officer for the City of Lawrence, Massachusetts.

5. The plaintiff, Kevin Sledge, is an African-American resident of Salem, New

Hampshire and is a police officer for the City of Lawrence, Massachusetts.

6. The plaintiff, Charles Dejesus, is a Hispanic resident of Methuen,
Massachusetts and is a police officer for the City of Methuen, Massachusetts.

7. The plaintiff, Richard Brooks, is a Hispanic resident of Londonderry, New
Hampshire and is a police officer in the City of Lawrence, Massachusetts.

8. The plaintiff, Massachusetts Hispanic Law Enforcement Association, is a
private, nor-profit organization of Hispanic police officers and law enforcement officers
in the Commonwealth of Massachusetts.

9. The plaintiff, Robert Alavarez, is a Hispanic resident of the City of

Methuen, Massachusetts, and is a police officer in the City of Lowell, Massachusetts.
Case: 09-1664 Document: 00115896390 Page: 17 Date Filed: 05/18/2009 ~— Entry ID: 5343725

10. ‘The plaintiff, Marisol Nobrega, is a Hispanic resident of Lowell,
Massachusetts, and is currently a police officer in the City of Lowell, Massachusetts.

11. The plaintiff, Spencer Tatum, is an African American resident of
Worcester, Massachusetts. He currently holds the position of police officer in the City of
Worcester, Massachusetts.

12. The plaintiff, Shumeand Benfold, is an African American resident of the
City of Boston, Massachusetts, and is a police officer in the City of Boston,
Massachusetts.

13. The plaintiff, Angela-Williams Mitchell, is an African American resident of
the City of Boston, Massachusetts, and is a police officer in the City of Boston,
Massachusetts.

14. The plaintiff, Gwendolyn Brown, is an African American resident of the
City of Boston, Massachusetts, and is a police officer in the City of Boston.

15. The plaintiff, Lynette Praileau, is an African American resident of the City
of Boston, Massachusetts, and is a police officer in the City of Boston.

16. The plaintiff, Tyrone Smith, is an African American resident of Mattapan,
Massachusetts, and is a police officer in the City of Boston.

17. The plaintiff, Eddy Chrispin, is an African American resident of Hyde Park,
Massachusetts, and is a police officer in the City of Boston.

18. The plaintiff, David E. Melvin, is an African American resident of North
Easton, Massachusetts, and is a police officer in the City of Boston.

19. The plaintiff, Steven Morgan, is an African American resident of

Dorchester, Massachusetts, and is a police officer in the City of Boston.
Case: 09-1664 Document: 00115896390 Page:18 Date Filed: 05/18/2009 — Entry ID: 5343725

20. ‘The plaintiff, William E. lraolo, is a Hispanic resident of Randolph,
Massachusetts, and is a police officer in the City of Boston.

21. The plaintiff, Jose Lozano, is a Hispanic resident of Medfield ,
Massachusetts, and is a police officer in the City of Boston.

22. The plaintiff, Courtney A. Powell, is an African American resident of Hyde
Park, Massachusetts, and is a police officer in the City of Boston.

23. The plaintiff, James L. Brown, is an African American resident of
Dorchester, Massachusetts, and is a police officer in the City of Boston.

24. The plaintiff, George Cardoza, is an African American resident of
Brockton, Massachusetts, and is a police officer in the City of Boston.

25. The plaintiff, Larry Ellison, is an African American resident of Rockland,
Massachusetts, and is a police officer in the City of Boston.

26. The plaintiff, David Singletary, is an African American resident of Roxbury,
Massachusetts, and is a police officer in the City of Boston.

27. The plaintiff, Charisse Brittle -Powell, is an African American resident of
Hyde Park, Massachusetts, and is a police officer in the City of Boston.

28. The plaintiff, Cathenia D. Cooper-Paterson, is an African American
resident of Dorchester, Massachusetts, and is a police officer in the City of Boston.

29. The plaintiff, Molwyn A. Shaw, is an African American resident of
Dorchester, Massachusetts, and is a police officer in the City of Boston.

30. The plaintiff, Lamont Anderson, is an African American resident of
Mattapan, Massachusetts, and is a police officer in the City of Boston.

31. The plaintiff, Gloria Kinkead, is an African American resident of Brockton,
Case: 09-1664 Document: 00115896390 Page:19 Date Filed: 05/18/2009 — Entry ID: 5343725

Massachusetts, and is a police officer in the City of Boston.

32. The plaintiff, Kenneth Gaines, is an African American resident of Hyde
Park, Massachusetts, and is a police officer in the City of Boston.

33. The plaintiff, Murphy Gregory, is an African American resident of
Stoughton, Massachusetts, and is a police officer in the City of Boston.

34. The plaintiff, Julian Turner, is an African American resident of Mattapan,
Massachusetts, and is a police officer in the City of Boston.

35. The plaintiff, Neva Grice, is an African American resident of Roxbury,
Massachusetts, and is a police officer in the City of Boston.

36. The plaintiff, Delores E. Facey, is an African American resident of
Randolph, Massachusetts, and is a police officer in the City of Boston.

37. The plaintiff, Lisa Venus, is an African American resident of Hyde Park
Massachusetts, and is a police officer in the City of Boston.

38. The plaintiff, Rodney O. Best, is an African American resident of Situate,
Massachusetts, and is a police officer in the City of Boston.

39. ‘The plaintiff, Karen VanDyke, is an African American resident of
Dorchester, Massachusetts, and is a police officer in the City of Boston.

40. ‘The plaintiff, Robert C. Young, is an African American resident of
Dorchester, Massachusetts, and is a police officer in the City of Boston.

41. The plaintiff, Royline Lamb, is an African American resident of Brockton
Massachusetts, and is a police officer for the Massachusetts Bay Transit Authority.

42. The plaintiff, Lynn Davis, is an African American resident of Mattapan,

Massachusetts, and is a police officer for the Massachusetts Bay Transit Authority.
Case: 09-1664 Document: 00115896390 Page:20 Date Filed: 05/18/2009 — Entry ID: 5343725

43. The plaintiff, James A. Jackson, is an African American resident
Springfield, and is a police officer for the City of Springfield, Massachusetts.

44. The plaintiff, Juan Rosario, is a Hispanic resident of Springfield, and is a
police officer for the City of Springfield, Massachusetts.

45. The plaintiff, Louis Rosario Jr., is a Hispanic resident Springfield, and is a
police officer for the City of Springfield, Massachusetts.

46. The plaintiff, Obed Almeyda, is a Hispanic resident of Springfield, and is a
police officer for the City of Springfield, Massachusetts.

47. The plaintiff, Devon Williams, is an African American resident
Springfield, and is a police officer for the City of Springfield, Massachusetts.

48. The plaintiff, Julio M. Toledo is a Hispanic resident of Springfield, and is a
police officer for the City of Springfield, Massachusetts.

49. The defendant, Commonwealth of Massachusetts, is a state of the United
States of America, and through its Human Resources Division, is responsible for
administering police sergeant promotional examinations in civil service communities
throughout the Commonwealth of Massachusetts pursuant to M.G.L. ch.31.

50. The defendant, Paul Dietl, is the Personnel Administrator for the Human
Resources Division of the Commonwealth of Massachusetts, and in that capacity has
overall responsibility for the conduct of that agency’s affairs.

49. The defendant, John Michael Sullivan, is the Mayor of the City of
Lawrence, Massachusetts and is responsible for the promotional appointments of police

officers in the City of Lawrence, Massachusetts.
Case: 09-1664 Document: 00115896390 Page: 21 Date Filed: 05/18/2009 ~— Entry ID: 5343725

50. The defendant, City of Lawrence, Massachusetts, is a municipality of the
Commonwealth of Massachusetts and it operates a police department.

51. The defendant, William Manzi, Ill, is the Mayor of the City of Methuen,
Massachusetts and is responsible for promotional appointments in the Methuen Police
Department.

52. The defendant, City of Methuen, Massachusetts, is a duly incorporated
municipality of the Commonwealth of Massachusetts and it operates a police

depariment.

53. The defendant, Appointing Authority for the City of Lowell, Massachusetts
is responsible for the promotional appointments of police officers in the City of Lowell,
Massachusetts.

54. The defendant, City of Lowell, Massachusetts, is a duly incorporated
municipality of the Commonwealth of Massachusetts, and it operates a police
department.

55. The defendant, Michael O’Brien, is the City Manager of the City of
Worcester, Massachusetts, and is responsible for promotional appointments in the City
of Worcester, Massachusetts.

56. The defendant, City of Worcester, Massachusetts, is a municipality of the
Commonwealth of Massachusetts and it operates a police department.

57. The defendant, City of Boston, Massachusetts, is a duly incorporated
municipality of the Commonwealth of Massachusetts, and it operates a police

department.
Case: 09-1664 Document: 00115896390 Page: 22 Date Filed: 05/18/2009 ~— Entry ID: 5343725

58. The defendant, Massachusetts Bay Transportation Authority (“MBTA’), is
a body politic and cooperate and political subdivision of the Commonwealth pursuant to

G. L. c. 161A, section 2.

59. Defendant Daniel Grabauskas is and has been at all material times the
General Manager of the MBTA.

60. Defendant MBTA Board of Trustees is responsibie for the management of
the MBTA pursuant to G.L. c. 161A § 7.

70. The defendants, City of Springfield, is a duly incorporated municipality of
the Commonwealth of Massachusetts, and it operates a police department.

71. The defendant, Domenic Sarno Jr., is the Mayor of the City of Springfield,
Massachusetts and is responsible for the promotional appointments of police officers in

the City of Springfield, Massachusetts.

IV. CLASS PLAINTIFFS.

72. The named plaintiffs bring this action individually and on behalf of a class
of individuals similarly situated. The class of individuals similarly situated are as follows:

All Black and Hispanic police officers within the Commonwealth of

Massachusetts who are employed in cities and towns covered by the state

civil service law, M.G.L. ch. 31, and who have taken the 2005, 2006 or

2007 police sergeant promotional examination administered by defendant

Commonwealth of Massachusetts, Human Resources Division but have

not been reached for promotion.

73. The claims of the class plaintiffs are identical or nearly identical to the
claims of the named plaintiffs in that each challenge the validity of the police sergeant

examination administered by HRD under a disparate impact theory under both state and

federal discrimination law.
Case: 09-1664 Document: 00115896390 Page: 23 Date Filed: 05/18/2009 — Entry ID: 5343725

74. Theclass meets all of the numerosity requirements of Rule 23 of the
Federal Rules of Civil Procedure, and it would be impractical to name each individual
plaintiff. In addition, the claims of the named plaintiffs are representative of the claims
of the class plaintiffs.

75. There are common questions of law and fact which predominate over any
specific individual factual claims in this case, and plaintiffs’ counsel are eminently
capable of representing the claims of the named and class members. The class is
primarily certifiable under Rule 23(b)(2) of the Federal Rules of Civil Procedure in that
they seek declaratory and injunctive relief to be generally applicable to all plaintiffs.
While they also seek damages in the form of back pay and other damages allowable by
law, the damage claims are ancillary to the injunctive and declaratory relief sought by

the plaintiffs.

V. STATEMENT OF FACTS.

76. The named plaintiffs are all police officers for the cities of Lawrence,
Methuen, Lowell, Worcester and Boston Massachusetts. Each plaintiff is each either
Hispanic or African-American.

77. | Theclass plaintiffs are all employed as police officers in cities and towns
within the Commonwealth of Massachusetts and are subject to the Massachusetts civil
service law, M.G.L. ch. 31, and have taken the 2005, 2006, or 2007 HRD-administered
police sergeant’s examination for the position of police sergeant but have not been

promoted.

10
Case: 09-1664 Document: 00115896390 Page: 24 Date Filed: 05/18/2009 _—_ Entry ID: 5343725

78. The cities of Lawrence, Methuen, Lowell, Worcester and Boston
Massachusetts, as well as many other cities and towns throughout the Commonwealth
of Massachusetts, have elected to utilize the Commonwealth of Massachusetts, Human
Resources Division (“HRD”) to create, design and administer the municipalities’
promotional examination for the position of police sergeant.

79. Oninformation and belief, the cities of Lawrence, Methuen, Lowell,
Worcester and Boston as well as numerous other cities and towns within the
Commonwealth of Massachusetts, have been utilizing HRD’s police sergeant
examination to make sergeant’s promotions for many years. Pursuant to the
Massachusetts civil service law, M.G.L. ch. 31, these cities and towns have utilized the
HRD examination, which consists of 100 points and provides for a failing grade of below
70. If acandidate passes such examination, he or she is then ranked by their score on
the examination and selections for promotional positions are made by the respective
city and town from the top candidates on such list.

80. The HRD police sergeant examination consists of approximately 100
multiple choice questions which are taken directly from law enforcement and related
textbooks.

81. These examinations have, over the last 20 years, been shown to have a
significant adverse impact upon minority (Black and Hispanic) test takers while not
having been shown to be valid predictors of job performance for a police sergeant. All
of the defendants have been well aware of this fact, yet have taken no action to design

a less discriminatory and more job-related examination procedure.

11
Case: 09-1664 Document: 00115896390 Page:25 Date Filed: 05/18/2009 — Entry ID: 5343725

82. Although any municipality covered by the civil service law, M.G.L. ch.31,
has the right under M.G.L. ch. 31, §11 to conduct its own alternative police sergeant
promotional examination which could be professionally validated and have significantly
less discriminatory impact in virtually all civil Service municipalities which are covered by
this lawsuit, the HRD examination was used without modification.

83. In addition, despite HRD’s knowledge that the police sergeant’s
examination has a significant discriminatory impact and is not job-related, HRD has
done nothing to implement a less discriminatory examination procedure.

84. The police sergeant’s examination administered by HRD was given in
some municipalities in 2005, others in2006, and others in 2007. Promotional lists were
established as a result of these examinations , and promotions have been made within
the appropriate statute of limitations, and continue to be made, off of these lists. The
exam is scheduled to be given again in 2008.

85, All of the individual and class plaintiffs have taken the police sergeant’s
promotional examination on at least one occasion, in either 2005, 2006 or 2007. Many
have taken the exam in years prior to 2005.

86. Although a majority of the named and a majority of the class plaintiffs

passed the sergeant’s examination, they have not received scores high enough that
they will likely be reached for promotion. In addition, one or more of the named and
class plaintiffs did not receive a passing score on the police sergeant’s examination.

87. Asaresult of utilizing the HRD multiple choice sergeant’s promotional
examination, minority police officers who have taken the examination, both in the

municipalities named in this lawsuit and elsewhere, have been ranked significantly

12
Case: 09-1664 Document: 00115896390 Page:26 Date Filed: 05/18/2009 — Entry ID: 5343725

lower than their non-minority counterparts, despite their being otherwise equally as
qualified for a sergeant’s promotional position.

88. As aresult of the use of the HRD civil service police sergeant’s
promotional examination over the last 20 years or more, few, if any, minorities have
been promoted to the position of sergeant in both the named defendant municipalities
and elsewhere in civil service municipalities throughout the Commonweaith of
Massachusetts. As a result, there is a significant disparity between the number of
minority police sergeants in the Commonwealth of Massachusetts and their
corresponding numbers in entry-level police officer ranks, notwithstanding that there are
significant number of qualified minority police officers who are otherwise qualified for
such promotion, were it not for the resulting scores on the police sergeant’s promotional

examination administered by HRD.

COUNT |
The conduct of the defendants as set forth above constitutes unlawful disparate
impact discrimination in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C.
§2000(e).
COUNTII
The actions of the defendants as set forth above constitutes unlawful disparate

impact discrimination under M.G.L. ch.151B, §4.

WHEREFORE, plaintiffs request this Honorable Court to issue appropriate

injunctive and declaratory relief remedying Defendants’ past acts of discrimination, to

13
Case: 09-1664 Document: 00115896390

Page:27 Date Filed: 05/18/2009 — Entry ID: 5343725

award compensatory relief, including back pay and other damages, to grant attorney’s

fees and costs, and to grant such other and further relief as to this Court is deemed just

and proper.

Dated: September 24, 2008

Respectfully submitted,
PEDRO LOPEZ, et al.

By their attorneys,

s/Harold L. Lichten

Harold L. Lichten, BBO #549689
Shannon Liss-Riordan, BBO #640716
Leah M. Barrault, BBO # 661626
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14
Case: 09-1664 Document: 00115896390 Page:28 Date Filed: 05/18/2009 — Entry ID: 5343725 6
Case: 09-1664 Document: 00115896390 Page:29 Date Filed: 05/18/2009 ~— Entry ID: 5343725

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

JACOB BRADLEY, NOAH BRADLEY,

}
)
KEITH RIDLEY, and JARED THOMAS, }
}
Plaintifis, )

} CIVIL ACTION NO.

) 05-10213-Ps8S

Vv. )
}
CITY OF LYNN, et al., )
. }
Defendance. }
}
BOSTON SOCIETY OF THE VULCANS )
and NEW ENGLAND AREA CONFERENCE }
OF THE NAACP, )
}
‘Intervenors. )
}

~2. sseamoeer AMENDED

REMEDIAL ORDER

Veber €, 200 ?
Saris, U.S.D.0.

on August 8, 2006, this Court issued a Memorandum and Order

regarding liability, concluding that the written civil service
cognitive ability examination used in 2002 and 2004 to qualify
and rank applicants has had a disparate and adverse impact on
Black and Hispanic candidates (*minerity candidates”) for entry-
level firefighter positions in violation of the Civil Rights Act
o£ 1964, 42 U.S.C. § 2006e-2(a), {k) (2006), and the federal

consent @ecree in Boston Chapter, NAACP, Inc. v. Beecher, 371 F.

Supp. 507 (D. Mase. 1974) {the “Beecher decree”). Based on these

findings, I order as follows:
- Case: 09-1664 Document: 00115896390 Page:30 Date Filed: 05/18/2009 —_ Entry ID: 53843725

A. Hiring

The Commonwealth, in consultation with plaintiffs’ and
intervenérs’ counsel, shall attempt to identify minority
individuals who would have been reached for consideration for
hiring as firefighters based on the 2002 and 2004 examinations if
‘not for the adverse impact of those examinations by taking the
following actions:

i. Shortfall Methodology. Utilizing the “shortfall”

methodology! described by Dr. Jacobs, HRD ghall identify the
number of minority candidates in each municipality, other
than municipalities still subject to the Beecher consent
decree, who would likely have been certified as eligible for
hiring based on the results of the 2002 and 2004
examinations, had thosa examindtions not had an adverse
impact on minorities.

In any municipality where all veterans have already
been certified ag eligible, the veteran shortfall shall be
subtracted from the municipalicy’s shortfall number. In any

municipality where alli veterans have not already been

} The Jacobs forniula compares the actual hites of
minorities and norn-minorities against the number of test takers
in each group. In applying the shortfall analysis, the number of
non-minority appointments is divided by the number of non-
minority exam takers. The resulting quotient is then multiplied
by the number of minority éxam takers, to arrive at the predicted
minority hiring number. The minority hiring number is multiplied
by .8 (the four-fifths rule) to détermine the actual shortfall
for each community.
Case: 09-1664 Document: 00115896390 Page: 31 Date Filed: 05/18/2009 ~— Entry ID: 5343725

certified, veterans and nonveterans shall be treated
séparately in calculating the municipality’s shortfall.

The parties shall then identify municipalities with
shortfalls of 6.5 or higher. A candidate who took both the
2002 and 2004 examinations shall be counted in the shortfall
analysis for both years. A fraction of 6.5 or more shall be
rounded to the nearest whole number, and less than 0.5 shall
be rounded down,

2. For each such municipality, HRD shail then
identify and prepare a list of the names of eligible
minority candidates. If necessary, HRD shall revive the
eligibility of those candidates. In any municipality having
shortfall numbers for both 2002 and 2604, the candidates’
names shall be merged into a single list in rank order
according te store. HRD shall instruct each municipality
that it need only utilize such shortfall list until the
municipality has hired the number cf minorities identified
in the above-described shortfall analysis, or all eligible .
candidates have been disqualified. When such a municipality
next requests an eligibility list for firefighter vacancies
(other than requests for special certifications under HRD’s
Personnel Administration Rules), HRD shall place the
shortfall list at the top of the 2006 certified eligibilicy

list.
Case: 09-1664 Document: 00115896390 Page: 32 Date Filed: 05/18/2009 — Entry ID: 5343725

3. Onde a municipality has appointed minority
candidates. equaling ite shortfall, minority candidates
certified puysuant to thie Order shall be removed from the
municipality's eligibility list, unless otherwise eligible
based on the 2006 exam.

4. In the event that a municipality exhausts the
minority list described above, withaut meeting its shortfall
hiring, it shall not be obligated to fill such shortfalls
with minority hiririg, provided however that HRD shall have
the right to review ary rejection or disqualification of
such minority candidates on such shortfall list, and HRD
shall not approve such disqualification unless the
municipality articulates a suffitiently appropriate reason
in writing for not hiring such candidate, The HRD shall
state in writing any reasons for approving or disapproving a

and intervenors

minority candidate. Plaintiffs“ shall have the right to
review all rejections and disyualifications, together with
any HRD decision. In addition to any remedy provided under

and intervenors
state law, plaintiffs Way présent any disputes regarding
HRD's good faien cofypliance with this procedure to the Court
for resolution. The Court will not review HRD's decision
regarding qualifications.

5. The formula described above shall not apply to any

special certification list requested by a municipalicy.
Case: 09-1664 Document: 00115896390 Page: 33 Date Filed: 05/18/2009 —_ Entry ID: 5343725

B. Back Pay and other Relief

1. The parties shall cooperate to notify individuals who
may have a claim for back pay and other equitable relief under:
this Order within 30 days of being hired.

2. Bach candidace hired as a result of this Order shall
present a démarid for back pay and any other equitable relief Co
HRD. If the parties cannot settle the dispute, the magistrate
judge shall maké a determination as to the enritlement to back
pay (including average overtime for a firefighter of the
plaintiff£’s seniority in the applicable years) for any candidate
hired as a result of this Order, or hired later than would
otherwise have o¢curred had the 2002 and 2004 tast not been
discriminatory, and such calculation shall be based on the
difference between what the candidate would have earned as a
firefighter had he/she been selected in a municipality’s previous
hiring rounds, and what he/she has in fact earned during the same
time period. Furthar., the magistrate judge shall determine the
amount of yéars of service to be credited to each such candidate
for purposes of the civil service law and the amount of employee
cohtribution which must be made to the plan. Interest shall be
caloulatéd based on the federal rate from the date the minority
would have been hired.

Cc, Prospestive Obligations

Upon completion of the 2006 entry-level firefighter
Case: 09-1664 Document: 00115896390 Page:34 Date Filed: 05/18/2009 _—_ Entry ID: 5343725

examination, the Commonwealth will provide to the plaintiffs’ and
intervenors’ attorneys all test gocres, weighting criteria,
certification lists, appointment data, and all other relevant
information necessary to conduct an adverse impact and “job
relatednéss’” analysis of the examination and selection procésses.
DB. Future Minority. Recruitment
HRD is ORDERED to implement a recruitment plan to cbtain as
diverse a hiring pool as poesible in each municipality. It shall
and int¢rvenors
work with plaintiffe’to engure outreach to the minority

community, It shall report te the Court the plan to be

implemented within 60 days of thia Order.

E. Plaintifis’ and Intervenors’. Feas and Costs

and intervenors
The Commonwealth will pay to the plaintiffs¥all of their

reasonable attorneya’ fees and costs associated wich this case
and ensuring coinpliance with this Order. The amount of costs in
this paragraph shall include all expert witness fées.

F. Saparate and Fip

The Court hereby enters separate and final judgment in this
case with respect to liability and remedy regarding the 2002 and

2004 firefighter examinations.

CJ. 2 CSS $8 Syces

PATRI B. Sa
UNITED STATES DISTRICT JUDGE

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Case: 09-1664 Document: 00115896390 Page:35 Date Filed: 05/18/2009 —_ Entry ID: 5343725,
Case: 09-1664 Document: 00115896390 Page:36 Date Filed: 05/18/2009 — Entry ID: 5343725

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

PEDRO LOPEZ, et al.,
Plaintiffs,

v. CIVIL ACTION

CITY OF LAWRENCE, et al., NO. 07-11693-JLT

Defendants.

STATE DEFENDANTS’ MOTION TO STAY PROCEEDINGS PENDING APPEAL

The State defendants, Commonwealth of Massachusetts and Paul Dietl, in his capacity as
Chief Human Resources Officer of the Human Resources Division, move this Court to stay all
proceedings against them until the First Circuit resolves their interlocutory appeal. The grounds
for this motion are as follows:

1. On May 4, 2009, the State defendants filed a notice of appeal (Paper No. 174)
from that portion of the Court’s April 7, 2009 order that denied their motion to dismiss the
complaint against them under the Eleventh Amendment.

2. “The filing of a notice of appeal is an event of jurisdictional significance—it
confers jurisdiction on the court of appeals and divests the district court of its control over those

aspects of the case involved in the appeal.” Griggs v. Provident Consumer Discount Co., 459

U.S. 56, 59 (1982). Here, the question to be decided by the First Circuit is whether the State
defendants are entitled to immunity from suit under the Eleventh Amendment. See Puerto Rico

Aqueduct & Sewer Auth. v. Metcalf & Eddy, Inc., 506 U.S. 139, 144 (1993) (authorizing

interlocutory appeal by States and state entities from denial of Eleventh Amendment immunity).

Thus, whether plaintiffs’ claims should proceed to trial is precisely the “aspect[] of the case”
Case: 09-1664 Document: 00115896390 Page:37 Date Filed: 05/18/2009 —_ Entry ID: 5343725

over which this Court now lacks jurisdiction, as that is the issue “involved in the [pending]
appeal.” Griggs, 459 U.S. at 59.

3. The courts of appeals have uniformly endorsed this approach, agreeing that
where, as here, the appeal is from a denial of an immunity defense, the district court is divested
“of jurisdiction to proceed with any part of the action against an appealing defendant.” Stewart

v. Donges, 915 F.2d 572, 576 (10th Cir. 1990); accord, e.g., Blinco v. Green Tree Servicing,

LLC, 366 F.3d 1249, 1252 (11th Cir. 2004); Williams v. Brooks, 996 F.2d 728, 729-30 (Sth Cir.

1993); Princz v. Federal Republic of Germany, 998 F.2d 1, 1 (D.C. Cir. 1993); Chuman v.

Wright, 960 F.2d 104, 105 (9th Cir. 1992); Apostol v. Gallion, 870 F.2d 1335, 1338 (7th Cir.

1989). The rationale of these decisions is that proceeding to trial would destroy the rights

created by the asserted immunity. In other words, “[i]t makes no sense for trial to go forward

while the court of appeals cogitates on whether there should be one.” Apostol, 870 F.2d at 1338.
4. While not speaking expressly in jurisdictional terms, the First Circuit invoked the

same rationale in Hegarty v. Somerset County, 25 F.3d 17, 18 (1st Cir. 1994). In that case five

police officers took an interlocutory appeal from a denial of qualified immunity and asked the
district court to stay discovery while the appeals were pending. Id. at 17-18. The district court
denied the request on grounds of judicial economy, but the First Circuit reversed, explaining that
“fal qualified immunity defense is an immunity from suit and the rationale for allowing an
immediate appeal from the denial of qualified immunity is that the immunity from suit is
effectively lost if a case is erroneously permitted to go to trial.” Id. at 18. Thus, “because
immunity from suit includes protection from the burdens of discovery,” the district court could
not compel the officers to comply with discovery “[uJntil [the] threshold immunity question

[was] resolved.” Id.
Case: 09-1664 Document: 00115896390 Page:38 Date Filed: 05/18/2009 _—_ Entry ID: 5343725

5, Likewise, here, the Court cannot proceed with any part of this action as to the
State defendants until the immunity question is resolved on appeal. Were the First Circuit to find
the immunity defense to be valid, the State defendants would be entitled not to stand trial or to

face any other burdens of litigation. Puerto Rico Aqueduct, 506 U.S. at 144-47. Accordingly,

until the appeal is resolved, this Court has no jurisdiction to proceed against the State defendants
and must therefore grant this motion to stay proceedings pending the appeal.

6. In addition to staying proceedings against the State defendants, this Court should
likewise stay proceedings against all other defendants until the appeal is resolved. It would be
potentially prejudicial and illogical for a trial to proceed solely against the non-State defendants
prior to the appellate court’s ruling. Such a trial could prove highly wasteful and inefficient for
all concemed, including this Court, should the First Circuit ultimately determine that the State

defendants must stand trial. See K.M. v. Alabama Dep’t of Youth Servs., 209 F.R.D. 493, 495

(M.D. Ala. 2002), aff'd by unpublished decision 73 Fed. Appx. 386 (11th Cir. 2003) (stay of trial

entered as to defendants not taking interlocutory appeal; “the court refuses to order these claims
to proceed to trial because of the danger of wasting judicial resources through piecemeal
litigation, which far outweighs any advantage for any of the parties”’).

7. For these reasons the State defendants respectfully request that this motion to stay

proceedings pending appeal be granted. A proposed form of order is attached as Exhibit A.
Case: 09-1664 Document: 00115896390 Page: 39 Date Filed: 05/18/2009 ~—_ Entry ID: 5343725

Respectfully submitted,

COMMONWEALTH OF MASSACHUSETTS and
PAUL DIETL, in his capacity as Chief Human
Resources Officer of the Human Resources Division,

By their attorney,

MARTHA COAKLEY
ATTORNEY GENERAL

/s/ Sookyourig Shin
Sookyoung Shin, BBO # 643713
Assistant Attorney General
One Ashburton Place, Room 2019
Boston, MA 02108-1698
Dated: May 8, 2009 (617) 963-2052

CERTIFICATION UNDER L.R. 7.1(A)(2)

I hereby certify that counsel for the State defendants has conferred with counsel for the
plaintiffs and attempted in good faith to resolve or narrow the issues presented herein.

/s/ Sookyoung Shin
Sookyoung Shin, BBO # 643713
Assistant Attorney General

CERTIFICATE OF SERVICE

I hereby certify that the above document will be served on May 8, 2009, by electronic
notice for registered counsel and a copy will be served by first-class mail, postage pre-paid, for
non-registered counsel.

/s/ Sookyoung Shin
Sookyoung Shin, BBO # 643713
Assistant Attorney General

Case: 09-1664 Document: 00115896390 Page:40 Date Filed: 05/18/2009 ~—_ Entry ID: 5343725

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v
Case: 09-1664 Document: 00115896390 Page: 41 Date Filed: 05/18/2009 ~—_ Entry ID: 5343725

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

PEDRO LOPEZ, ET AL., *
*
Plaintiffs, **
v. * Civil Action No. 07-11693-JLT
*
CITY OF LAWRENCE, ET AL., i
of
Defendants. *
ORDER
June 9, 2008

TAURO, J.
After a Motion Hearing on April 28, 2008, and review of the Parties’ post-Hearing
filings, this court hereby orders the following:
1. This action shall be bifurcated into: (1) a declaratory relief stage regarding liability; and,
if necessary, (2) a remedial stage.

2. Plaintiffs’ Motion for Class Certification [#31] is DENIED as to the liability stage and

DENIED without prejudice as to the potential remedial stage.

3. A Case Management Conference shall be held on July 8, 2008, at 10:30 A.M., at which
time a Trial on liability shall be scheduled.
IT IS SO ORDERED.

/s/ Joseph L. Tauro
United States District Judge

Case: 09-1664 Document: 00115896390 Page:42 Date Filed: 05/18/2009 = Entry ID: 53843725

PYLE, ROME, LICHTEN, EHRENBERG & LISS-RIORDAN, P.C. UY

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Leah M. Batrault Ss
‘Hillary Schwab** s
Laurie R. Houle ee
Ian O. Russell May 15, 2009 =
Brant A. Casavant _.
Alex Sugerman-Brozan CH
*Also admitted in Maine 0
** Also admitted in New York c

Lad

VIA HAND DELIVERY
Clerk of the Court
United States Court of Appeals
For the First Circuit
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2500
Boston, MA 02210

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Re: Lopez, et al. v. City of Lawrence, et al.
Civil Action Appeal No. 09-1664
Dear Sir or Madam:

Enclosed in connection with the above-referenced matter please find an original
and three copies of Plaintiffs-Appellees’ Motion to Dismiss Appeal. Thank you for your

attention to this matter.

Sincerely,

A Joseph H. Hunt

Assistant to Harold L. Lichten, Esq.

Enclosure
Case: 09-1664 —_Document: 00115896390 Page: 43 Date Filed: 05/18/2009 Entry ID: 53843725
PYLE, ROME, LICHTEN, EHRENBERG & LISS-RIORDAN, P.C. y

Cc: (VIA FIRST CLASS MAIL)

Mark D. Selwyn Brian W. Leahey
Jeffrey S. Gleason R. Eric Slagle

Vinita Ferrera Laurie W. Engdahl
Rahsaan D. Hall Daniel C. Brown

James M. Bowers Robert P. Morris

Peter J. McQuillan Mary Jo Harris

lraida J. Alvarez Edward M. Pikula
Robert L. Quinan, Jr. John T. Liebel
Sookyoung Shin Maurice M. Cahillane, Jr.

Kevin S. McDermott Williams G. Cullinan

